To the Honorable Leonie M. Brinkema,



        I am writing this on behalf of Christopher William Kuehner, whom I have known since I was 12
years old (1995). Chris is a truly special and wonderful person. For as long as I have known him, he has
always put the needs of others first. He is very easy to like and can make friends in any situation and
environment, but instead of trying to be the most popular person in middle school and throughout high
school, Chris always made an effort to reach out to and befriend those most in need of friends. People
who have a hard time making friends or are different in a way other children would choose to bully
them for. Chris showed them friendship and stood up for them. For example, in high school we had a
friend everyone referred to as ‘Tom the Sophomore’. Tom had the same hat he wore every day, and
many students would pick on him for it or try to take it from him. Chris would always step up to stop it
and somehow do it in a way that no one felt confrontation. His ability to stop the bullying of others
without confrontation allowed people to see the wrong in their choices with feeling beholden to them
allowing them to make better choices without having to directly confront the wrongness of their
previous actions.

         After high school Chris joined the Army where Chris continued to shine. Though Chris was
shipped out of the country to serve and defend the greatest nation in the world and her allies abroad,
we were able to stay in close contact through online games and chat services. Chris is an outstanding
orator and every day he would share what was going on in his world as best as he was allowed. Chris
went through a lot while overseas. He lost friends and fellow soldiers and, as his best friend, I could hear
the heartbreak and the pain in him, and yet he always managed to be the rock those around him needed
to rest on. I believe Chris needed these interactions just as much as those that came to him because
Chris is called to heal and to lead.

        Returning from overseas, Chris met and fell in love with the future mother of his child. They had
a daughter and were married. Chris loves his daughter with all his heart. He always tries to give her what
she needs even when it hurts him. Though no one knows the perfect way to parent, I do know that Chris
has always put his daughter first in his heart and mind, and I believe no one can ask more of a parent.
When his marriage failed and he was forced to live apart from his daughter, he put every effort he could
into providing for her. He cherishes every moment he gets with her but when she was going through
some personal things that a mom is best to help with, she asked Chris if she could not come out for one
summer and, though it was hard for him, he agreed because he thought it was best for her and what she
needed.

         Chris is a motivated person and tries to self-improve when and where he can. To this end, he
started taking college courses at Olympic College in business. While pursuing higher education Chris got
involved with other veterans at the college and quickly found himself in the place that he seemed to be
made for. He was helping them through their education and the VA’s benefits process to make sure they
were getting the help they needed. He was so motivated to do this that he would sacrifice his free time
to drive them to doctors’ appointments and help them find the words and the strength to be honest
with the doctors to get the help they really need. Veterans often have a very hard time admitting when
they need help and what they need help with because the military trains them to be strong and
independent people, but Chris has a way of helping people heal themselves and drawing them to seek
help from others more qualified than him.
         During the COVID lockdowns was the hardest I have ever seen on Chris. For someone called to
help others to be denied that interaction is very difficult, and this was the first and only time in Chris’s
adult life he had been cut off from that. Chris stayed focused on his schoolwork and did his best to find
social interaction where he could. As America came out of lock down and Chris was able to return to his
friends and those he helps, he quickly came out of the difficult times and continued to help all those
around him in any way he could.

        I have known Chris for as long as I can clearly remember. I know him to be a good, honest, and
motivated person. He takes personal responsibility for his mistakes and learns from them. In any
situation that someone has felt wronged by Chris, he works to make things right, whether or not any
wrong was done. Chris has a strong moral compass that he tries to hold himself accountable to and he
grows and expands that compass as he himself grows in experience and understanding.

        I am shocked by the recent events as anyone would be, but I know that Chris has learned and
grown. Having spoken with him, I know he is genuinely concerned for the well-being of all the people
involved. I humbly ask that the court show as much mercy on him as possible.



        Very respectfully,

                Guy R. Venner
